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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                              CIVIL MINUTES - GENERAL
 Case No.        2:17-cv-06714-SVW-MRW                                                       Date   April 9, 2018
 Title           Michael Manshoory et al v. BMW of North America, LLC et al




 Present: The Honorable            STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                Paul M. Cruz                                     Deborah Gackle
                Deputy Clerk                                 Court Reporter / Recorder                      Tape No.

                Attorneys Present for Plaintiffs:                              Attorneys Present for Defendants:
                       Russell Higgins                                                Corinne D. Orquiola
                    Michael H. Rosenstein                                             Robert L. Stuhlbarg
                        Brian Murray

 Proceedings:                  PRETRIAL CONFERENCE
                               [15] MOTION IN LIMINE (#1) to Exclude Improper Legal Opinions filed by defendant
                               [16] MOTION IN LIMINE (#2) to Exclude Reference to the Phrase "Lemon Law" or
                               "Lemon" filed by defendant
                               [17] MOTION IN LIMINE (#3) to Exclude Non-Recoverable Incidentals and
                               Consequentials filed by defendant
                               [18] MOTION IN LIMINE (#4) to Preclude Introduction of Evidence of Concerns
                               Presented Only Onc filed by defendant
                               [19] MOTION IN LIMINE (#5) to Exclude Argument That Repair Orders Alone
                               Substantially Impair Value filed by defendant
                               [20] MOTION IN LIMINE (#6) to Exclude Reptile Theory filed by defendant
                               [21] MOTION IN LIMINE (#7) to Preclude Introduction of Evidence of Impermissible
                               Emotional Distress filed by defendant
                               [22] MOTION IN LIMINE (#8) to Exclude Reference to Other Vehicles, Claims, Or
                               Incidents filed by defendant
                               [23] MOTION IN LIMINE (#9) to Exclude Reference to Plaintiff's Subjective
                               Expectations filed by defendant
                               [24] MOTION IN LIMINE (#10) to Exclude Plaintiffs' Expert Greg Barnett filed by
                               defendant
                               [25] MOTION IN LIMINE (#11) to Exclude Evidence Not Disclosed filed by defendant
                               [26] MOTION IN LIMINE (#13) to Exclude Evidence, Argument, or Testimony About
                               Repairs Not Covered By BMW NA's Warranties filed by defendant
                               [27] MOTION IN LIMINE (#12) for Evidence Spoliation or, in the Alternative, for
                               Evidentiary Sanctions filed by Defendant
                               [38] MOTION IN LIMINE (1) to Exclude Testimony or Reference to Plaintiffs' Prior
                               Felony Convictions filed by Plaintiffs
                               [39] MOTION IN LIMINE (2) to Exclude Reference to Attorney Fees filed by Plaintiffs
                               [40] MOTION IN LIMINE (3) to Exclude Evidence Relating to Plaintiffs' Financial
                               Condition filed by Plaintiffs
                               [41] MOTION IN LIMINE (4) to Exclude Evidence or Testimony Regarding Attorney
                               Advertisements filed by Plaintiffs

         Hearing and conference held. The motions are submitted. Order to issue.


                                                                                                    1        :        03
                                                                      Initials of Preparer                PMC

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